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		OSCN Found Document:RE SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS

					

				
  



				
					
					
						
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				RE SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2019 OK 10Decided: 03/11/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 10, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

RE: Suspension of Certificates of Certified Shorthand Reporters
ORDER
The Oklahoma Board of Examiners of Certified Shorthand Reporters has recommended to the Supreme Court of the State of Oklahoma the suspension of the certificate of each of the Oklahoma Certified Shorthand Court Reporters listed on the attached Exhibit for failure to comply with the continuing education requirements for calendar year 2018 and/or with the annual certificate renewal requirements for 2019.
Pursuant to 20 O.S., Chapter 20, App. 1, Rule 20(c), failure to satisfy the annual renewal requirements on or before February 15 shall result in administrative suspension on that date. Pursuant to 20 O.S., Chapter 20, App. 1, Rule 23(d), failure to satisfy the continuing education reporting requirements on or before February 15 shall result in administrative suspension on that date.
IT IS THEREFORE ORDERED that the certificate of each of the court reporters named on the attached Exhibit is hereby suspended effective February 15, 2019.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 11th day of MARCH, 2019.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR.

Exhibit


Hope Alwardt

CSR #1883

Continuing Education &amp; Renewal Fee


Karen Baker

CSR #1552

Continuing Education &amp; Renewal Fee


Lorena Bishop

CSR #125

Continuing Education &amp; Renewal Fee


Regina Goldsmith

CSR #908

Continuing Education &amp; Renewal Fee


David Harjo

CSR # 873

Renewal Fee


Laurie Hoyt

CSR # 547

Continuing Education


Deborah Parker

CSR # 1575

Continuing Education &amp; Renewal Fee


Connie Petrazio

CSR # 1733

Continuing Education &amp; Renewal Fee


Elizabeth Phillips

CSR #1855

Continuing Education &amp; Renewal Fee


Trulia Taylor

CSR # 2010

Renewal Fee


Connie Tocco

CSR #1977

Continuing Education &amp; Renewal Fee


Jeanna Whitten

CSR #1961

Continuing Education &amp; Renewal Fee








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